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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                        CASE NO. CV F 07-1080 LJO GSA
12                          Plaintiff,                      ORDER TO EXTEND DEADLINE TO
                                                            OPPOSE POST-TRIAL MOTIONS AND TO
13          vs.                                             SET BRIEFING FOR GOOD FAITH
                                                            SETTLEMENT MOTION
14
     NORTHERN CALIFORNIA
15   UNIVERSAL ENTERPRISES,
     INC., et al,
16
                            Defendants.
17                                               /
18          Counsel for plaintiff Roger McIntosh (“Mr. McIntosh”) and defendant City of Wasco (“Wasco”)
19   have informed this Court that they seek a good faith determination of their recent settlement. This Court
20   concludes that a ruling on the settlement’s good faith should precede rulings on defendants’ pending
21   alternative motions to alter or amend judgment or for new trial. As such, this Court:
22          1.      ORDERS Mr. McIntosh and/or Wasco, no later than June 18, 2010, to file and serve
23                  opening papers for a good faith settlement determination;
24          2.      ORDERS defendants Northern California Universal Enterprises, Inc., Lotus
25                  Developments, L.P., and Dennis W. DeWalt, Inc., no later than June 28, 2010, to file
26                  serve papers, if any, to oppose good faith settlement;
27          3.      ORDERS Mr. McIntosh and Wasco to file no reply papers for good faith settlement,
28                  unless this Court orders otherwise; and

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 1           4.      VACATES the June 23, 2010 hearing on defendants’ alternative motions to alter or
 2                   amend judgment or for new trial.
 3           With its ruling on good faith settlement, this Court will reset deadlines to file and serve
 4   opposition and reply papers for defendants’ pending alternative motions to alter or amend judgment or
 5   for new trial. This Court anticipates the deadline to file opposition papers will five days after its ruling
 6   on good faith settlement. Pursuant to its practice, this Court will consider the motion for good faith
 7   settlement on the record without a hearing, unless this Court orders otherwise.
 8           IT IS SO ORDERED.
 9   Dated:       June 8, 2010                          /s/ Lawrence J. O'Neill
     66h44d                                         UNITED STATES DISTRICT JUDGE
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